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 9                          UNITED STATES DISTRICT COURT
10                         CENTRAL DISTRICT OF CALIFORNIA
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12      ANTHONY BOUYER, an                Case No. 2:21-cv-02373-DSF-AGR
13      individual,

14           Plaintiff,                       ORDER DISMISSAL WITH
15                                            PREJUDICE
        v.
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17      BURBANK BOYZ II, LLC, a
        California limited liability
18      company; and DOES 1-10,
19      inclusive,
20           Defendants.
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                                      ORDER
                             DISMISSAL WITH PREJUDICE
     Case 2:21-cv-02373-DSF-AGR Document 23 Filed 09/22/21 Page 2 of 2 Page ID #:94


 1          After consideration of the Joint Stipulation for Dismissal of the entire action

 2    with Prejudice filed by Plaintiff Anthony Bouyer (“Plaintiff”) and Burbank Boyz II,
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      LLC (“Defendant”), the Court hereby enters a dismissal with prejudice of Plaintiff’s
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 5    Complaint in the above-entitled action, in its entirety. Each party shall bear his or its

 6    own costs and attorneys’ fees.
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 8          IT IS SO ORDERED.
 9    DATED: September 22, 2021
10                                            Honorable Dale S. Fischer
                                              UNITED STATES DISTRICT JUDGE
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                                        ORDER
                               DISMISSAL WITH PREJUDICE
